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UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS, WESTERN DIVISION

Shaun A. Kranish, )

Plaintiff, 06CV50071
y. JUDGE REINHARD

Edward A. Crumb, Rock Valley College

 
 

 

- Community College District 511,

an Illinois Public Community College,
Rock Valley College Board of Trustees
of Community College District 511,

a body politic and corporate, Rock
Valley College Police Department
Chief of Police Joe Drought, Jack

J. Becherer, President Rock Valley
College, Amy Diaz, Associate Vice
President for Student Development and
Janna L. Shwaiko and unknown others,

JURY TRIAL DEMANDED

FILED

APR 07 2006 NF

MICHAEL W. DOBBINS

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efendants CLERK, U.S. DISTRICT COURT
COMPLAINT
Now Comes the Plaintiff, Shaun A. Kranish,
(hereinafter referred to as “Kranish” or “Plaintiff"), by

his attorney, Walter P. Maksym, and complains of the
Defendants, Officer Edward A. Crumb {Badge
#167)(hereinafter referred to as "Crumb"), Rock Valley
College - Community College District 511, an Illinois
Public Community College organized under the Public
Community College Act of the State of Illinois (hereinafter
referred to as "Rock Valley College" or “RVC”), Rock Valley
College Board of Trustees of Community College District
511, a body politic and corporate, Rock Valley College
Police Department, Rock Valley College Police Department
Chief of Police Joe Drought, Rock Valley College Police
Department Jack J. Becherer, President Rock Valley College,
Amy Diaz, Associate Vice President for Student Development

and Janna L. Shwaiko, all individually and as employees and

 
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agents of Rock Valley College and potential unknown other
John and Jane Does not presently known, (hereinafter
sometimes referred to as jointly as the “Defendants”) and
alleges as follows:

Nature of the Action

 

1. Kranish brings these actions against the
Defendants to recover damages for wrongful, unwarranted and
illegal search and seizure, false arrest, false
imprisonment and illegal detention, malicious prosecution,
stigmatization, infringement of his free speech, movement.
Association, travel and liberty rights and interests,
denial of due process and other injuries and deprivations
of his rights which were visited upon him by Defendants
under color of state law and pursuant to a conspiracy to
deprive him of his rights, privileges, and immunities
secured by the United States Constitution, despite the fact
that he was a peaceful, law abiding citizen innocent of any
crime or wrongdoing, for which he seeks damages, injunctive
and declaratory relief.

2. This Complaint alleges claims under the Civil
Rights Act of 1871, 42 U.S.c. § 1983, the First, Fourth,
Fifth and Fourteenth Amendments to the United States
Constitution, as well as claims under Illinois common law,
statutes and constitutional law governing free speech,
illegal detention, false arrest, false imprisonment,
unwarranted and illegal search and seizure, battery
conspiracy, intentional infliction of emotional distress,
negligence, willful, wanton, reckless and unreasonable
conduct, malicious prosecution, conspiracy, intentional
interference with educational contract, prospective
economic and academic advantage, stigmatization, defamation

and false light and related other claims and damages.

 
 

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3. This Court has original jurisdiction of Kranish’s
federal law claims pursuant to 28 U.S.C. § 1331 and 28
U.S.C. § 1343(a)(3). The Court has jurisdiction of
Kranish’s state law claims pursuant to 28 U.S.C. § 1367.

Venue

4, Venue in the Western District of Illinois,
Eastern Division is proper pursuant to 28 U.S.C. § 1391(a)
in that Plaintiff’s claims arose within this District out
of a the false and wrongful arrest and related wrongful
conduct and use of excessive force which occurred in the
County of Winnebago, State of Illinois, as is hereinafter
more particularly alleged and all of the Defendants reside
within this District.

Parties

5. That Kranish was, at all times relevant, a
reputable, law abiding, adult resident and citizen of
Rockford, County of Winnebago, State of Illinois, and a
duly admitted, register and tuition paying student at RVC
who, prior to and at the time of the events alleged herein,
had no record of arrest or criminal conviction.

6. That on information and belief, Officer Edward A.
Crumb (Badge #167) (hereinafter referred to as "Crumb") was
at all times employee and agent of Rock Valley College -
Community College District 511, that was at all times
relevant, an Illinois Public Community College organized
under the Public Community College Act of the State of
Illinois (hereinafter referred to as "Rock Valley College"
or "RVC"), Rock Valley College Board of Trustees of
Community College District 511, was at all times relevant a
body politic and corporate, (hereafter referred to as the

"Board"), Rock Valley College Police Department (hereafter

 

 
 

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referred to as the "Campus Police") was at all times
relevant part of and run by RVC, Rock Valley College Police
Department Chief of Police Joe Drought (hereinafter
referred to as "Drought"), Jack J. Becherer (hereinafter
referred to as "Becherer"), was at all times the President
of RVC, Amy Diaz (hereinafter referred to as "Diaz"), was
at all times relevant the Associate Vice President for
Student Development and Janna L. Shwaiko (hereinafter
referred to as "Shwaiko"), was at all times relevant, as
were Crumb, Drought, Becherer, and Diaz, employees and
agents of RVC. Crumb, Drought, Becherer, Diaz and Shwaiko
are all sued individually and in their official capacities
as employees and agents of RVC as are potential unknown
others (hereinafter all referred to collectivly as as the
“Defendants.”

7. That, on information and belief and at all times
relevant, the Defendant Board, is and was at all times
relevant, regarding the misconduct for which it and its
agents, offices and employees are sued in this Complaint, a
political subdivision of and a municipal corporation duly
organized under the laws of the State of Illinois, and as
such is and was responsible for the policies, practices,
customs and actions of the its police officers, agents and
employees and, along with the other Defendants, maintained
offices in the Rockford, County of Winnebago, State of
Illinois.

8. That, on information and belief and at all times
relevant, Defendants Crumb, Drought, Becherer, Diaz and
Shwaiko were and remain agents and employees of the Board
that, was responsible for the policies, practices, and

customs of the its police officers, agents and employees,

and operated in and about Winnebago County, Illinois.

 

 

 
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9. That, on information and belief and at all times
relevant, Defendants Crumb, Drought, Becherer, Diaz and
Shwaiko, on information and belief, and regarding the
misconduct for which they are sued, were and represented
and held themselves out to be agents, officers and
employees of RVC and the Board.

10. That Defendants John and Jane Does and all others
whose identities are not presently known, were at all
relevant times relevant, also agents and employees of the
RVC and/or the Board.

11. That on information and belief and at all times
relevant, each of the above-named Defendants were acting
under color of law or were acting jointly and/or in
conspiracy with persons acting under color of law. .

Facts Common to Ali Counts

 

12. That, at all times relevant, Kranish was and
remains a student registered and attending Rock Valley
College, in Rockford, Winnebago County, Illinois, had a
good reputation as a honest, law-abiding citizen and has
no other record of arrest or conviction.

13. That at all times relevant Kranish was also a
civil rights activist and founder of MICarry, an
organization and community of members that associate,
primarily online at http://www.icarry.org. Kranish and
ICarry are dedicated the restoration of the Second
Amendment of the U.S. Constitution in Illinois. Kranish and
the ICarry members believe that countless laws and
restrictions are in place that not only infringe the right
of honest, law -abiding citizens to keep and bear arms, but
present serious public safety risks across the state.

Countless lives are damaged and destroyed because of the

 
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laws restricting gun ownership and possession in the State
of Illinois State.

14. That on Tuesday, October 11°, 2005, Kranish, who
had never before been arrested, attended his classes at and
always endeavored to follow every rule and regulation RVC
has in place. His most serious infraction prior to that
date was being slightly little late to class from time to
time. Also, as of that date, on information and belief, and
at all times relevant, Becherer had and enforced a strict
zero-tolerance policy, which was known, or should have been
known, to the Board, of not allowing any peaceful student
demonstrations, political speech, dissent or protests of
any kind on college campuses with which he might
subjectively disagree, including, RVC, that he was then and
there responsible for administering.

15. That as a civil rights activist, Kranish
cherished his right to freedom of speech and was exercising
it on and about the RVC campus in order to raise awareness
of what he, members of the ICarry and many other Illinois
citizens believe to be the horrible situation in Illinois
with regard to suppression, over regulation, erosion and
infringement of Second Amendment rights and their political
efforts to have Illinois adopt "conceal-carry" legislation
and join the vast majority of States, 48 of the 50 United
States, that have adopted legislation that now allow
honest, law-abiding citizens to carry concealed firearm
for, inter alia, the protection and self-defense of their
families, themselves and their property.

16. That Kranish had never done or worn anything
offensive, alarming or disruptive on or about the RVC
Campus or anywhere else. For approximately two weeks prior

to October 11, 2005, he openly and conspicuously wore a

 
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small, empty, nylon pouch that those in the pro-self-
defense/Pro-Second Amendment community commonly refer to as
a holster, carry-case, or fanny-pack, on the side of his
leg, as a symbolic statement of his aforesaid
constitutional and political beliefs. He alarmed no one,
disrupted nothing, received no complaints from any RVC
student or administrative or faculty member, any campus
security, campus police, any faculty members or anyone else
about his attire or conduct. Though conspicuously worn, not
once was he asked what it was or why he wore it, nor was he
ever asked to take it, the empty holster or his jacket off.
On the contrary, this small accessory to his clothing and
his jacket prompted a number of fellow students to approach
him and begin friendly discourse about the Second
Amendment, gun-rights, and the state and country's
Situation. During this time, no one was ever alarmed, no
one ever reported what he was wearing, and furthermore, no
one at RVC ever expressed any concern or objection thereto.
This small, empty, harmless nylon pouch had become a part
of his everyday expressive life and a silent vehicle and
means him to symbolically express his aforesaid views in an
effective, peaceable, non-disruptive and noticeable way. At
no time did Kranish ever intend to nor did frighten or
intimidate any person nor interfere with or disrupt RVC or
anyone else's activities and he never did.

17. That as a like and further expression of his
beliefs, Kranish regularly wore and was attired in the
above-referenced, custom-made windbreaker or jacket, most
often referred to as a “coaches jacket” commonly worn by
sports coaches, and often carries a team name or logo. His
was navy blue, and had “I CARRY” and “”.ORG” in yellow on

two equal-sized lines on the back. He worn it to express

 

 
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his above-mentioned views and to publicize the organization
and silently and graphically communicate a means for others
to find out and/or join the organization or make contact
with him via the Internet. The front of the jacket bore a
small “I CARRY” on the top right at chest level. He wore
this jacket every time he was on campus as did he the
pouch. Again, none of his teachers nor any of the active-
duty RVC campus police officer noticed or questioned either
item

18. That on Tuesday, October 11°, 2005, following his
morning class Kranish decided to see about speaking with
school officials about the school’s policy against self-
defense. He had been considering doing so for a long time,
and had been putting it off. Tuesday seemed like a
convenient time, so he decided to see about having a
meeting with the RVC President about the issue and to
express his strong belief based on the Constitution in
general, statistics, human rights, the beliefs of the
founding fathers of this country, and the Second Amendment
to the Constitution in particular, and common sense, and
logic, that governmental policies against self-defense are
immoral and quite possibly the gravest threat to public
safety. Kranish merely wanted to share as much information
as possible about his organization, facts and information
on the Second Amendment and the right to self-defense with
someone who could really take it into consideration.

19. That then and there, Kranish walked into RVC’'s
Administrative Building, a small historical farm-house
converted into offices, and politely inquired of Shwaiko
about the possibility of setting up a meeting with RVC's

President and how one would go about it. He was asked what

it was in regards to, and informed the secretary that it

 

 
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was about school policy. Shwaiko had asked if he had spoken
to anyone else about the issue, and Kranish replied that he
had not. She said it would be best if he did that first
before approaching the President, as the President would
most likely ask him to do the same if he spoke with him.
Shwaiko then suggested he seek whichever department the
policy pertains to, and he replied that would most likely
be the Department of Public Safety (DPS).

20. That after sincerely thanking Shwaiko for her
help, and requesting a business card in case he needed to
get back in touch with the administrative office, she gave
him one and he politely thanked her again and told her he
would be going to speak with someone at the RVC DPS. At no
time was Shwaiko or anyone else alarmed or disrupted in any
way, nor did a breach of the peace ever occur. Kranish then
left the Administrative Building and drove straight to the
DPS which is a also the RVC Campus Police Department, which
houses deputized police officers with the same authority to
enforce local/state laws as ordinary municipal police.
Kranish walked into its small lobby/ waiting room and asked
the dispatch woman behind the glass-protected counter if he
could perhaps speak to someone concerning school policies.
She said yes he could, and called one of the officers on
dispatch, then asked him to take a seat in the waiting
area, which he did.

21. That a few minutes later Chief Joe Drought
(hereinafter referred to as "Drought") came through the
door that leads to the police offices. Kranish stood up,
politely introduced himself and told him his reason for
coming — that he wanted to speak with someone regarding

school policy. Another officer, Officer Edward Crumb

(hereinafter referred to as "Crumb"), came in the standard

 

 
 

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entrance to the lobby, the one Kranish had used when he
entered. This door was directly across from the other door,
so Kranish was now standing between two armed police
officers. They spoke politely for a few minutes, and at
some point the officer to Kranish's right, Crumb, without
having probable cause or having first obtained a search or
arrest warrant, told Kranish to put his hands up. Kranish
complied and Crumb, without non-custody, pressured,
voluntary permission, probable cause or having obtained a
search warrant, grabbed and began fumbling with his empty
nylon pouch/holster. Crumb was trying to get it open, and
Kranish, concerned that he might damage it, instructed him
on how to release the single, large, very obvious and
apparent buckle mechanism on the front.

22. That after Crumb successfully unclipped the
buckle, he confirmed there was nothing inside. Kranish
became little nervous by Crumbs strange and unreasonable
attitude and behavior, but assumed everything would be fine
because they saw he had no weapons. One Officer asked
Kranish if he had any weapons, and he informed him that he
did not. After being frisked and patted down, to verify
that was the case, and it was clear that Kranish was
unarmed and defenseless, as school policy stipulates, the
conversation continued. Kranish then expressed and
communicated his concern about RVC's anti-Second Amendment
policy, and explained how he believed it put students at
serious risk and discussed the Constitution, and the right
to keep and bear arms. He informed Crumb and Drought about
the organization he started, and they talked about the laws
in Illinois. Both Officers claimed many times to agree with
Kranish's views and claimed to share his beliefs. At one

point in the waiting room, Kranish was about to quote

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Thomas Jefferson, when Drought said he didn’t need to, as
he knew all of the quotes as well. This was encouraging to
Kranish — a knowledgeable and informed law enforcement
officer that supposedly believed in freedom.

23. That Drought then asked Kranish to come in the
back, so they wouldn’t have to speak in the waiting room.
He led Kranish into a room, shut the door, and they sat
down and continued to talk about the beliefs the seemed to
share. At some point, Drought told Kranish he had some
other things to do, and that Crumb would be taking over.
Crumb came in the room, and with a smug attitude and
demeanor patronized Kranish with agreeing confirmations and
quirky smiles, as he continued to express his beliefs.

24. That Crumb appeared more interested in Kranish's
actions that day, and he repeatedly, without ever reading
him his Constitutional rights, tried to get Kranish to fill
out and sign a statement he had prepared. Kranish seeing no
need for this, having done nothing wrong, and not knowing
the legal implications involved in the document,
respectfully declined.

25. That, having nothing to hide, Kranish cooperated
by answering Crumb's questions, and they went through the
entire story a number of times. Kranish did not then feel
the need to stay silent, as he was confident he had done
absolutely nothing wrong. Furthermore, Kranish never
expected in the slightest that he would, and most
importantly, could be arrested for doing nothing except
expressing himself. So, he continued to answer Crumb's
questions, all of them, truthfully. After being
interrogated and detained for approximately one hour and a
half to two hours, without having been read his rights,

being afforded the benefit of counsel, or being free to

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leave, Kranish grew tired of going over the story, and even
more tired of waiting countless times as Crumb stepped out
of the room. At about noon, having not eaten breakfast or
lunch, Kranish still cooperated. Realizing his next class
was at 12:20 that day, and it was about noon, Kranish
informed Crumb that he would need to leave soon in order to
make his next class. Crumb then informed Kranish, with a
nice smile, that he wouldn’t be going anywhere. Kranish
asked why, and was told “we might be putting you under
arrest.” Kranish became very concerned, as he was not only
obviously innocent of any wrongdoing, but had an exam
scheduled for that class.

26. That Kranish then pleaded with Mr. Crumb to allow
him to be at that class on time and was told that was
"impossible." While Crumb left the room to confer with
Drought, Kranish called his parents and his lawyer to
inform them what was happening. Crumb then told him that he
would most likely be placed under arrest, and that his car
would be seized. Crumb had asked about his vehicle, and
Kranish verified which one it was. Crumb asked Kranish if
he would agree to allow them to search the vehicle. After
thinking about this for a moment, and since it was
approximately five minutes before his exam, Kranish, under
duress, reluctantly offered to permit Crumb to search his
vehicle, so long as he would allow him to make it to his
class and exam on time. Crumb said that that wouldn’t be
possible.

27. That Crumb went out and back in again to confer
with Drought, and this time brought a piece of paper
purporting to detail Kranish's rights and requiring his

initials and signature. The whole while he maintained his

smug smile, and informed Kranish that he would be placed

 

 
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under arrest. After a while, Crumb informed Kranish that he
was indeed under arrest, and when Kranish asked what the
charges were, he was told “Disorderly Conduct.” The false
“Justification” given for this was that he had “alarmed”
the woman (Shwaiko) in the administrative office.

28. That Kranish was absolutely appalled that they
would or could arrest him. Crumb then took his jacket and
empty holster "as evidence," and upon direction, signed a
receipt for them. Kranish was then taken into a holding
room with a height-chart on the wall. Crumb took his
picture and filled out "booking" papers. After Kranish was
given the receipt for his belongings, a form with the
criminal charges, and an Illinois citation and complaint he
was noticed to and did appear and plead "not guilty" in the
Winnebago County Courthouse, Rockford, Illinois, on October
26, 2005. After being charged and released Officer Crumb
toid Kranish, he was not allowed back on campus, and
threatened and warned him that if he were caught on campus,
he would be arrested for trespassing and sent to County
Jail

29. That in order to be allowed back on campus and
attend his classes, Kranish got in contact with school
officials and arrange a meeting. He spent the remainder of
the day doing this, and after calling many times and
leaving a message with a secretary and a voicemail, he was
able to get in contact with Amy Diaz, the Associate V.P. of
the counseling staff and was able to get an appointment
with her the next day. They met and went through the whole
story again. She typed up an "agreement" that would allow
Kranish to return to classes immediately, but only if he
signed it and agreed to its unilateral, non-negotiable

conditions. The "agreement" stated Kranish must not wear

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his jacket or his empty holster during the school’s
investigation into the incident. Without having been
afforded due process, and while laboring under duress of
continuing to be excluded from classes and the fear of
threat of expulsion and further criminal charges as well as
prosecution of the existing criminal prosecution and the
loss of his college education and paid tuition, Kranish
reluctantly signed it, thereby having been, being and
continuing to be permanently deprived without due process,
his First Amendment right to peaceful expression. No
independent lawful consideration was given to or received
by Kranish in his execution of said “agreement” and,
further, it was against public policy and
unconstitutionally obtained because it was governmentally
designed and procured expressly to deny Kranish his first
Amendment rights under the United States Constitution.

30. That on information and belief, Kranish was
knowingly, deliberately falsely charged and maliciously
prosecuted by Crumb with the knowledge of and under the
direction and conspiracy of Crumb, Drought, Diaz and
Shwaiko in combination with and under the direction and
supervision of Becherer, without probable cause with a
baseless violation of criminal law for what they knew or
should have known was merely the exercise his well
established First Amendment right of free speech and when
they knew or should have known him to be innocent of the
untrue accusations made and the false charge brought.

31. That on December 8, 2005 a Circuit Judge of the
Circuit Court of Winnebago County entered an order
dismissing the above referenced criminal charge against

Kranish on Motion of the Winnebago County States Attorney.

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32. That the fictitious and false charges placed by
the Defendants and the other actions complained of herein
go right to the heart of and continually and ongoingly
infringe upon and deny Kranish his Constitutional rights
and have damage his previously good reputation.

33. That, on information and belief, all of the above
wrongful acts were committed pursuant to the authorization
and/or under the supervision, direction and of Drought
and/or Becherer, who had ultimate decision making authority
on behalf of the Board in such matters, respectively as the
RVC Police Chief and President.

34. That on information and belief, Defendant Drought
was at all time relevant, the chief law enforcement officer
of RVC, and Becherer was the chief administrative officer
of RVC and were therefore, by operation of state law and as
a matter of fact and practice, a final decision makers,
respectively, with regard to investigative, arrest,
custodial, and administrative acts and decisions made with
respect to Kranish and/or participated in as well as their
professional actions and training of Campus Police,
including but not limited to Crumb and Drought himself, in
connection therewith.

35. These acts and decisions were reckless and
unreasonable in light of existing law and directly and
proximately caused the Constitutional violations, injuries
and damages to Kranish hereinabove alleged and are directly
chargeable to Defendant RVC and the Board because of said
Defendants’ status as their agents, employees and final
decision makers.

COUNT I
(Deprivation of Civil Right - 42 U.S.C. § 1983)

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1-35. Plaintiff realleges paragraph 1 through 34 of
this Complaint as paragraphs 1 through 34 of this Count I
as if set forth fully herein.

36That, on information and belief, the Defendants
foregoing acts and omissions were done and committed in
violation of 42 U.S.C. § 1983 when each of the above-named
Defendants were acting under color of law or were all
acting jointly and/or in conspiracy with each other and/or
other persons acting under color of law thereby intending
to deprive and depriving Kranish of his rights, privileges
and immunities, secured by the laws statutes and Constitution
of the United States.

36. That, on information and belief, as a direct and
proximate result of one or more of Defendant’s foregoing
acts and omissions, Kranish suffered a wrongful arrest and
false imprisonment and loss of liberty, great emotional and
mental shock, upset, pain, distress, anguish, public scorn,
humiliation, and ridicule, great and permanent injuries to
reputation and loss and deprivation of his civil rights
under the first, fourth, fifth, eight, and fourteenth
amendments to the United States Constitution, which
injuries continue to this day and will continue and
compound in the future.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, that he be awarded equitable
relief against each Defendants, jointly and severally,
including but not limited to temporary, preliminary and

permanent injunctive relief, to issue without bond,

enjoining and restraining Defendants from threatening to,

 

 

 
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retaliating, or arresting him or excluding him from
attending classes or coming onto and going about the RVC
campus for expressing his Second Amendment views or in any
other way placing any restraint on his liberty or for
engaging in for any other associated or similar peaceable,
symbolic speech such as wearing a jacket or other apparel
bearing the name of his Organization, its website, other
political message or from wearing an empty holster as
herein described, that a declaratory judgment be entered
against the Defendants and in his favor declaring that the
document(s) that he signed void and of no force and effect,
that the above-mentioned document and record of arrest be
ordered expunged and removed from all his academic and
police files, that this Court declare the rights of the
that a judgment of rescission of the above-mentioned
document be entered against Defendants jointly and
severally, that said document and record of arrest be
ordered expunged and removed from all his academic and
police files, plus he be awarded reasonable attorney's
fees, costs, and expenses and for such other and further
relief as may be just and proper in the premises, plus the
costs of this suit, attorneys fee under 42 U.S.C. § 1988
and such other and further relief as may be proper in the
premises.
COUNT II
(Conspiracy to Violate Civil Rights - 42 U.S.C. § 1985)

1-35. Plaintiff realleges paragraph 1 through 35 of
Count I as paragraphs 1 through 35 of this Count II as if
set forth fully herein.

36. That on information and belief and at all times

relevant, Defendants individually and in combination and

conspiracy with each other and/or other as of yet unknown

 

 
 

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co-conspirator John and Jane Does, by their actions as set
forth above committed certain overt acts as hereinabove set
forth.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of then, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, that he be awarded equitable
relief against each Defendants, jointly and severally,
including but not limited to temporary, preliminary and
permanent injunctive relief, to issue without bond,
enjoining and restraining Defendants from threatening to,
retaliating, or arresting him or excluding him from
attending classes or coming onto and going about the RVC
campus for expressing his Second Amendment views or in any
other way placing any restraint on his liberty or for
engaging in for any other associated or similar peaceable,
symbolic speech such as wearing a jacket or other apparel
bearing the name of his Organization, its website, other
political message or from wearing an empty holster as
herein described, that a declaratory judgment be entered
against the Defendants and in his favor declaring that the
document(s) that he signed void and of no force and effect,
that the above-mentioned document and record of arrest be
ordered expunged and removed from all his academic and
police files, that this Court declare the rights of the
that a judgment of rescission of the above-mentioned
document be entered against Defendants jointly and
severally, that said document and record of arrest be
ordered expunged and removed from all his academic and
police files, plus he be awarded reasonable attorney's

fees, costs, and expenses and for such other and further

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relief as may be just and proper in the premises, plus the
costs of this suit, attorneys fee under 42 U.S.C. § 1988
and such other and further relief as may be proper in the
premises.
COUNT III
(42 U.S.C. § 1983 Monell Claim)

1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count III as if
set forth fully herein.

37. That on information and belief, and at all times
relevant, Becherer had and enforced a strict policy, which
was known, or should have been’ known, to the
Board, of not allowing any peaceful student demonstrations,
political speech, dissent or protests of any kind on
college campuses, including, RVC, that he administered.

38. That, additionally and alternatively, upon
information and belief, Drought and/or Becherer, and or RVC
and/or the Board failed to adequately train and supervise
their respective above-named police officers, agents and
employees with respect to proper investigatory and police
procedures relating to, inter alia, searching and
arresting, investigating, charging and prosecuting and
denying persons such as Kranish under such circumstances
their First, Fourth, Fifth and Fourteenth Amendment and
other Constitutional rights.

39. These policies, practices, customs and failures
by Defendants directly and proximately caused the
constitutional violations and injuries to Kranish, thereby
making them directly chargeable to RVC and/or the Board.

40. These policies, practices, and customs directly

and proximately injured Kranish as hereinabove alleged.

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WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, that he be awarded equitable
relief against each Defendants, jointly and severally,
including but not limited to temporary, preliminary and
permanent injunctive relief, to issue without bond,
enjoining and restraining Defendants from threatening to,
retaliating, or arresting him or excluding him from
attending classes or coming onto and going about the RVC
campus for expressing his Second Amendment views or in any
other way placing any restraint on his liberty or for
engaging in for any other associated or similar peaceable,
symbolic speech such as wearing a jacket or other apparel
bearing the name of his Organization, its website other
political message or from wearing an empty holster as
herein described, that a declaratory judgment be entered
against the Defendants and in his favor declaring that the
document(s) that he signed void and of no force and effect,
that the above-mentioned document and record of arrest be
ordered expunged and removed from all his academic and
police files, that this Court declare the rights of the
that a judgment of rescission of the above-mentioned
document be entered against Defendants jointly and
severally, that said document and record of arrest be
ordered expunged and removed from all his academic and
police files, plus he be awarded reasonable attorney's
fees, costs, and expenses and for such other and further
relief as may be just and proper in the premises, plus the

costs of this suit, attorneys fee under 42 U.S.C. § 1988

 

 
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and such other and further relief as may be proper in the
premises.
COUNT IV
(42 U.S.C. § 1985 Monell Claim)

1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count IV as if
set forth fully herein.

37. That on information and belief, and at all times
relevant, Becherer had and enforced a strict policy, which
was known, or should have been known, to the
Board, of not allowing any peaceful student demonstrations,
political speech, dissent or protests of any kind on
college campuses, including, RVC, that he administered,
and, as the RVC Police Chief and/or Becherer President,
who, respectively had ultimate decision making authority on
behalf of the Board in such matters, were, by operation of
state law and as a matter of fact, the final decision
makers with regard to administrative acts and decisions
that Defendants made and/or participated in as hereinabove
described.

38. That said acts and decisions directly and
proximately caused the constitutional violations, injuries
and damages to Kranish hereinabove alleged and are directly
chargeable to Drought as the RVC Police Chief and/or
Becherer as President of RVC, because of their status as a
final decision makers.

39. That, additionally and alternatively, upon
information and belief and at all times relevant Drought as
the RVC Police Chief and/or Becherer as President of RVC,
failed to adequately train the above mentioned law
enforcement personnel, including the aforementioned Drought

and Crumb with respect to proper investigatory procedure

 

 
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relating to, among other things, properly identifying and
distinguishing between criminal perpetrators and law
abiding citizens so as not to subject innocent persons to
unwarranted, false arrest, unwarranted and unreasonable
searches and seizures, illegal and false detention and
imprisonment, unreasonable, false and baseless charges
lacking probable cause and/or other infringements of their
constitutional rights and liberties as herein alleged.

40. These policies, practices, customs and failures
directly and proximately caused the constitutional
violations and injuries to Kranish, thereby making them
directly chargeable to Drought as the RVC Police Chief
and/or Becherer as President of RVC, and in turn RVC and
the Board.

41. These policies, practices, customs and failures
directly and proximately injured Kranish as hereinabove
alleged.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, that he be awarded equitable
relief against each Defendants, jointly and severally,
including but not limited to temporary, preliminary and
permanent injunctive relief, to issue without bond,
enjoining and restraining Defendants from threatening to,
retaliating, or arresting him or excluding him from
attending classes or coming onto and going about the RVC
campus for expressing his Second Amendment views or in any
other way placing any restraint on his liberty or for
engaging in for any other associated or similar peaceable,

symbolic speech such as wearing a jacket or other apparel

 

 
 

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bearing the name of his Organization, its website other
political message or from wearing an empty holster as
herein described, that a declaratory judgment be entered
against the Defendants and in his favor declaring that the
document(s) that he signed void and of no force and effect,
that the above-mentioned document and record of arrest be
ordered expunged and removed from all his academic and
police files, that this Court declare the rights of the
that a judgment of rescission of the above-mentioned
document be entered against Defendants jointly and
severally, that said document and record of arrest be
ordered expunged and removed from all his academic and
police files, plus he be awarded reasonable attorney's
fees, costs, and expenses and for such other and further
relief as may be just and proper in the premises, plus the
costs of this suit, attorneys fee under 42 U.S.C. § 1988
and such other and further relief as may be proper in the
premises.
COUNT V
(Direct Action Under First Amendment)

1-36. Plaintiff realleges paragraph 1 through 33 of
Count II this Complaint as paragraphs 1 through 36 of this
Count V as if set forth fully herein.

37. That the above actions directly infringed and
continue to violate Kranish's rights under the First
Amendment to the United States Constitution and he is
entitled to relief fashioned directly thereunder.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of then, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five

Thousand ($75,000.00) dollars, that he be awarded equitable

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relief against each Defendants, jointly and severally,
including but not limited to temporary, preliminary and
permanent injunctive relief, to issue without bond,
enjoining and restraining Defendants from threatening to,
retaliating, or arresting him or excluding him from
attending classes or coming onto and going about the RVC
campus for expressing his Second Amendment views or in any
other way placing any restraint on his liberty or for
engaging in for any other associated or similar peaceable,
symbolic speech such as wearing a jacket or other apparel
bearing the name of his Organization, its website other
political message or from wearing an empty holster as
herein described, that a declaratory judgment be entered
against the Defendants and in his favor declaring that the
document(s) that he signed void and of no force and effect,
that the above-mentioned document and record of arrest he
ordered expunged and removed from all his academic and
police files, that this Court declare the rights of the
that a judgment of rescission of the above-mentioned
document be entered against Defendants jointly and
severally, that said document and record of arrest be
ordered expunged and removed from all his academic and
police files, plus he be awarded reasonable attorney's
fees, costs, and expenses and for such other and further
relief as may be just and proper in the premises, plus the
costs of this suit, attorneys fee under 42 U.S.C. § 1988
and such other and further relief as may be proper in the
premises.
PENDENT STATE COUNTS
COUNT VI

(False Arrest)

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1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count VI as if
set forth fully herein.

37. That, on information and belief and at all times
relevant, by their conduct the Defendants procured the
false arrest, of Kranish without good, legal, reasonable or
probable cause.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
as may be proper in the premises.

COUNT VII
(Illegal Search & Seizure)

1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count VII as if
set forth fully herein.

37. That, on information and belief and at all times
relevant, by their conduct the Defendants procured the
unwarranted and unlawful search and seizure of Kranish and
his property without good, legal, reasonable or probable
cause.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief

as may be proper in the premises.

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COUNT VIII
(Illegal Detention - False Imprisonment)

1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count VIII as
if set forth fully herein.

37. That, on information and belief and at all times
relevant, by their conduct the Defendants procured the
unwarranted and unlawful detention, and imprisonment of
Kranish without good, legal, reasonable or probable cause.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
as may be proper in the premises.

COUNT IX
(Battery)

1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count IX as if
set forth fuliy herein.

37. That, on information and belief and at all times
relevant, by their conduct the Crumb made an offensive,
unpermited touching of Kranish's body and property closely
associated with and upon his person as aforesaid.

WHEREFORE, Plaintiff demands judgment against the
Crumb, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief

as may be proper in the premises.

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COUNT X
(Reckless, Unreasonable, Careless and Negligent Conduct)

1-37. Plaintiff incorporates by reference
paragraphs 1 though 37 of Count V as paragraphs 1 though 37
of this Count X as if set forth fully herein.

38. That by their conduct Defendants, their employees
and agents were reckless, unreasonable, careless and
negligent in one or more of the following ways:

a. carelessly and negligently selecting Kranish
for arrest and charging and prosecuting him;

b. carelessly and negligently threatening Kranish
and excluding him from the RVC;

c.carelessly and negligently restraining and
imprisoning Kranish;

d. carelessly and negligently trained or failed
to be train in the proper procedures for
arrest and detainment against Kranish under
the circumstances, and

e.were otherwise carelessly and negligently
arrested and detained with Kranish took his
property and excluded him from the RVC campus.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general and compensatory
damages in a sum in great excess of Seventy Five Thousand
($75,000.00) dollars, plus the costs of this suit, and such
other and further relief as may be proper in the premises.

COUNT XI
(Willful, Wanton and Reckless Conduct)

1-37. Plaintiff incorporates by reference
paragraphs 1 though 37 of Count V as paragraphs 1 though 37
of this Count XI as if set forth fully herein.

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38. That by their conduct Defendants, their employees
and agents were willful, wanton and reckless in one or more
of the following ways:

a. willfully, wantonly and recklessly selecting
Kranish for arrest and charging and
prosecuting him;

b. willfully, wantonly and recklessly threatening
Kranish;

c. willfully, wantonly and recklessly restraining
and imprisoning Kranish;

d. willfully, wantonly and recklessly training or
failing to be train the officers and agents
and employees of RVC herein named in the
proper procedures to arrest, detain or refrain
from arresting and detaining Kranish under the
circumstances, and

e. willfully, wantonly and recklessly taking
property of and excluded Kranish from the RVC
campus.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointiy and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
as may be proper in the premises.

COUNT XII

(Intentional Inflictions of
Mental and Emotional Distress)

1-37. Plaintiff incorporates by reference
paragraphs 1 though 37 of Count V as paragraphs 1 though 37
of this Count XII as if set forth fully herein.

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38. That, on information and belief and at all times
relevant, by their conduct the Defendants intentionally and
without regard for Kranish’s emotional, physical or mental
well being intentionally threatened, falsely arrested,
charged, detained, imprisoned and prosecuted Kranish and
compelled him to sign the document as aforesaid when they
knew or should have known him to be innocent any criminal
activity.

39. That as a direct and proximate result of
Defendants intentional conduct they inflicted great and
recurrent psychological, mental and emotional fear,
anguish, strain, stress, pain, humiliation, distress,
suffering and damage on Kranish.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
as may be proper in the premises.

COUNT XIII
(Negligent Inflictions of Emotional Distress)

1-37. Plaintiff incorporates by reference
paragraphs 1 though 37 of Count V as paragraphs 1 though 37
of this Count XIII as if set forth fully herein.

38. That, on information and belief and at all times
relevant, by their conduct the Defendants negligently and
without regard for Kranish’s emotional, physical or mental
well being intentionally threatened, falsely arrested,
charged, detained, imprisoned and prosecuted Kranish and

compelled him to sign the document as aforesaid when they

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knew or should have known him to be innocent any criminal
activity.

39, That said false imprisonment, stigmatization and
false and malicious prosecutions of Kranish were
deliberately made when Defendants knew or should have known
him to be innocent of the untrue accusations made and the
false charges so wrongfully brought.

40. That as a direct and proximate result of
Defendants negligently conduct they inflicted great and
recurrent psychological, mental and emotional fear,
anguish, strain, stress, pain, humiliation, distress,
suffering and damage on Kranish.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory
damages in a sum in great excess of Seventy Five Thousand
($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
as may be proper in the premises.

COUNT XIV
(Common Law Conspiracy)

1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count IV as if
set forth fully herein.

37. That, on information and belief and at all times
relevant, the conspiracy hereinabove alleged aiso
constituted a conspiracy by the Defendants to faisely and
wrongfully assault, arrest, detain, confine and imprison
falsely charge, maliciously prosecute, stigmatize, defame
and hold Kranish in a false light before the public eye,
and intentionally inflict upon him emotional and mental
distress and pain, to procure his false and malicious

prosecution and to abuse and misuse the legal process to

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achieve said ends against him and cause him pain,
suffering, fear and humiliation and a loss of liberty and
other losses as hereinabove described when they knew or
should have known him to be innocent of the untrue
accusations made and the false charge so wrongfully brought
as aforesaid, was intentionally, recklessly and/or
negligently inflicted upon him emotional and mental
distress and pain and thereby causing him pain, suffering,
fear and humiliation, loss of liberty and other losses to
his person, business and profession as described herein
when they knew or should have known him to be innocent of
any criminal wrongdoing.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
aS may be proper in the premises.

COUNT XV
(Violations of Illinois Constitution)

1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count XV as if
set forth fully herein.

37. The at all times relevant, the Illinois
Constitution of 1970 provided, inter alia, free speech,
association, privacy, due process, search, arrest and
seizure clauses concomitant with those of the United States
Constitution.

38. Defendants conduct, acts, omissions, policies,
customs, practices and failures were also violative under

the aforementioned Illinois Constitution provisions and

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thereby intending to deprive and depriving Kranish of his
rights, privileges and immunities, secured by the laws
statutes and Constitution of the Illinois.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
as may be proper in the premises.

Count XVI
(Defamation)

1-36. Plaintiff realleges paragraph 1 through 36 of
Count II as paragraphs 1 through 36 of this Count XVI as if
set forth fully herein.

37. That on information and belief, by their conduct
and communications, Defendants, under the supervision of
Drought and/or Becherer, and or RVC and/or the Board,
without privilege, made public and known to the public said
false and defamatory allegations and charges of and concerning
Kranish imputing criminal conduct to him, all to the great
damage of his good name and reputation at RVC, in his RVC
academic file and in his community.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
as may be proper in the premises.

Count XVIT
(False Light in the Public Eye)

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1-37. Plaintiff realleges paragraph 1 through 37 of
Count XVI as paragraphs 1 through 37 of this Count XVII as
if set forth fully herein.

38. That by their conduct, Defendants, also thereby
placed Kranish in a false light in the public eye.

WHEREFORE, Plaintiff prays for a judgment against
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory
and punitive damages in a sum in great excess of Seventy-
Five Thousand Dollars ($75,000.00), plus the costs of this
suit, and such other and further relief as may be proper in
the premises.

Count XVIII
(Malicious Prosecution)

1-36. That Plaintiff realleges Paragraphs 36 though
15 above as Paragraphs 1 through 36 of Count II of this
Count XVIII as if set forth fully herein.

37. That, on information and belief, by their
conduct, Crumb and Development and Shwaiko, under the
supervision of Drought and Becherer, all employees and
agents of RVC and the Board, procured the false and
malicious prosecution of Kranish when they knew or should
have known him to be innocent of the untrue accusations made
and the false charge brought.

38. That on or about December 8, 2005, the Circuit
Court of entered a final Order of Court dismissing the
above-referenced criminal charge in Kranish's favor.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five

Thousand ($75,000.00) dollars, plus the costs of this suit,

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reasonable attorneys fees and such other and further relief
as may be proper in the premises.
COUNT XIX
(Intentional Interference with Educational Contract)

1-37. Plaintiff realleges paragraph 1 through 38 of
Count XVII as paragraphs 1 through 38 of this Count XIX as
if set forth fully herein.

38. That all times relevant Defendants Crumb,
Drought, Diaz, Shwaiko and Becherer, as individuals, knew
or should have known that Kranish was a tuition paying
student in good academic standing attending RVC and that as
he had a contract with said educational institution for his
education.

39. That on information and belief, by their wrongful
conduct and conspiracy stated above, Defendants Crumb,
Drought, Diaz, Shwaiko and Becherer, as individuals,
intentionally interfered with said contract in such a way
as to wrongfully interfere with and deny Kranish his right
to attend classes, take exams and maintain a good academic
record with said institution and created a stigmatizing
academic record based, inter alia on said false criminal
accusations so as to permanently damage his otherwise good
academic record with said institution to which contractual
benefits he was well known to entitled under said contract.

AO. That as a result of said wrongful and intentional
interference with said educational contract, the value of
Kranish's contractual rights and benefits and his academic
record, as well as Kranish's future academic, employment
and career opportunities were damaged in such amount as the
proofs will show and trier of fact may find.

WHEREFORE, Plaintiff demands judgment against the

Defendants Crumb, Drought, Diaz, Shwaiko and Becherer, and

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each of them, individually, jointly and severally, and that
he be awarded general, compensatory and punitive damages in
a sum in great excess of Seventy Five Thousand ($75,000.00)
dollars, plus the costs of this suit, reasonable attorneys
fees and such other and further relief as may be proper in
the premises.

COUNT XX

(Intentional Interference with
Prospective Economic and Academic Advantage)

1-38. Plaintiff realleges paragraph 1 through 38 of
Count XVII as paragraphs 1 through 38 of this Count XIX as
if set forth fully herein.

39. That all times relevant Defendants Crumb,
Drought, Diaz, Shwaiko and Becherer, as individuals, knew
or should have known that Kranish was a tuition paying
student in good academic standing attending RVC and that as
he had a contract with said educational institution for his
education and enjoyed good educational, advanced degree and
prospective economic, career and employment advantage and
opportunities.

40. That on information and belief, by their wrongful
conduct and conspiracy stated above, Defendants Crumb,
Drought, Diaz, Shwaiko and Becherer, as individuals,
intentionally interfered with said contract and prospective
economic, academic, career and employment advantage by
denying Kranish his right to attend classes, take exams and
maintain a good academic record with said institution and
created a stigmatizing academic record based, inter alia on
said false criminal accusations and charges.

41. That as a result of said wrongful and intentional
interference with said prospective academic, economic,
career, and employment advantages, the future value of

Kranish's prospective advantages, rights, benefits and his

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academic record were damaged in such amount as the trier of
fact may find.

WHEREFORE, Plaintiff demands judgment against the
Defendants, and each of them, individually, jointly and
severally, and that he be awarded general, compensatory and
punitive damages in a sum in great excess of Seventy Five
Thousand ($75,000.00) dollars, plus the costs of this suit,
reasonable attorneys fees and such other and further relief
as may be proper in the premises.

COUNT XXI
(Injunctive Relief)

1-41. . Plaintiff realleges paragraphs 1 though 41
of Count XV as paragraphs 1 though 41 of this Count XX as
if set forth fully herein.

42. That pursuant reason of the foregoing Kranish has
no adequate remedy at law and is, by reason of the
foregoing, entitled to temporary, preliminary and permanent
injunctive relief, reasonable attorney's fees, costs, and
expenses.

WHEREFORE PLAINTIFF PRAYS that a judgment be entered
awarding him equitable relief against each Defendants,
jointly and severally, including but not limited to
temporary, preliminary and permanent injunctive relief, to
issue without bond, enjoining and restraining Defendants
from threatening to, retaliating, or arresting him or
excluding him from attending classes or coming onto and
going about the RVC campus for expressing his Second
Amendment views or in any other way placing any restraint
on his liberty or for engaging in for any other associated
or similar peaceable, symbolic speech such as wearing a
jacket or other apparel bearing the name of his

Organization, its website other political message or from

 

 
 

 

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wearing an empty holster as herein described, and award him
reasonable attorney's fees, costs, and expenses and for
such other and further relief as may be just and proper in
the premises.
COUNT XXIT
(Declaratory Relief)

1-41. Kranish realleges paragraphs 1 though 41 of
Count I as paragraphs 1 though 41 of this Count XXII as if
set forth fully herein.

42. That by reason of the foregoing an actual
controversy exists between the parties and Kranish is
entitled to a judicial declaration of his rights pursuant
to 735 ILCS 5/2-701.

WHEREFORE PLAINTIFF PRAYS that a declaratory judgment
be entered against the Defendants and in his favor pursuant
to 735 ILCS 5/2-701 declaring that the document(s) that he
signed void and of no force and effect, that the above-
mentioned document and record of arrest be ordered expunged
and removed from all his academic and police files, that
this Court declare the rights of the parties and award him
his reasonable attorneys fees, costs, and all further
relief to which the she may be entitled and which this
Court may deem proper and just in the premises.

COUNT XXIII
(Recession)

1-41. Plaintiff realleges paragraphs 1 though 39
of Count XXII as paragraph 1 though 41 of this Count XXIII
as if set forth fully herein.

42. That by reason of the foregoing Kranish is
equitably entitled to rescind any and all purported

agreements, contracts, consents, assignments, understanding

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or documents upon which Defendants may obtained as
hereinabove mentioned.

WHEREFORE PLAINTIFF PRAYS that a judgment of
rescission of the above-mentioned document be entered
against Defendants jointly and severally, directing that
that any and said documents and records of arrest be
produced, ordered expunged and removed from all of his
academic and police files, plus he be awarded reasonable
attorney's fees, costs, and expenses and for such other and

further relief as may be just and proper in the premises.

Shaun_A. Kranish, Plaintiff

 

 

 

The undersigned attorney certifies that he has read
the foregoing complaint, that to the best of his knowledge,
information, and belief, formed after reasonable inquiry it
is well grounded in fact the same is warranted by existing
law or a good-faith argument for the extension,
modification, or reversal of existing law, and that it is
not interposed for any improper purpose, such as to harass
or to cause unnecessary delay..or needless increase in the
cost of litigation. ae ‘\

 

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PLAINTIFF’S RULE 11 CERTIFICATION

The undersigned Plaintiff certifies, subject to the
penalties provided by law, that he has read the foregoing
instrument and that to the best of his knowledge,
information, and belief, the matters stated therein are
true in substance and fact except those matters which are
alleged on information and belief, which he believes are
true.

46, AC

Shaun A. Kranish, Plaintiff

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